Case 1:23-mi-99999-UNA Document 2907-20 Filed 09/08/23 Page 1of3

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
— STATE OF LOUISIANA

ITEM NUMBER: WARRANT NUMBER:
F-21850-22

AFFIDAVIT FOR ARREST WARRANT

STATE OF LOUISIANA

VERSUS
ASHTON MALIK_LIOHNSON - BLACK/AFRICAN AMERICAN/MALE

DOB: 02-22-1999
4419 Werner Dr. New Orleans, Louisiana 70126

DL/ID #11244416 SSN: XXX-XX-XXXX
Height: 5’9" Weight: 124

Eye Color: Brown Hair Color: Black
D/M:

I, Detective Andrew R Bartholomew, with the Jefferson Parish Sheriff's Office, certify under
oath based on the information outlined below, that there is probable cause to believe Ashton
Malik Johnson on or about the date(s) of 06-22-2022 did commit:

10 Count(s) of 14:71.1-- BANK FRAUD-- (Felony)
10 Count(s) of 14:67.16 C(1-3)-- Identity Theft (Felony)-- (Felony)
1 Count(s) of 14:67 B2-- Theft $5000 but less than $25k (Felony)-- (Felony)

within this State and Parish at: 2019 Metairie Road, Metairie, La 70003 in Jefferson Parish and
the jurisdiction of the 24th Judicial District Court, contrary to the form of the statutes of the State
of Louisiana in such.case made and provided, and against the peace and dignity of the same, in

that the following did occur:

On July 6, 2022, Detective Bartholomew of the Criminal Investigations Bureau- Economic
Crimes Section, was assigned the follow-up investigation of a theft.

On June 30, 2022, the victim and storeowner of Second Act consignment store, Pamela
Baldassaro, reported that on June 22, 2022 at approximately 1630 hours, two unknown black
males entered her store and purchased a black Chanel purse for $5,241.60 and a brown Louis
Vuitton purse for $3,057.60. These items were purchased with a MasterCard ending in 6002.
Upon viewing the video, the Deputy observed one heavy set black male, clad in a white t-shirt
and blue jeans with a fanny pack on his shoulder. The second black male was thin, with braided
hair, facial hair, clad in a white t-shirt and blue jeans. The heavyset black male attempted to enter

PLAINTIFF'S
EXHIBIT

194

Case Number: F-21850-22 Warrant Number: Approved on: Jul, 18, 2022 at 04:29 PM

Case 1:23-mi-99999-UNA Document 2907-20 Filed 09/08/23 Page 2 of 3

the credit card number into the machine. After several attempts, the transaction was granted,
purchasing the black Chanel purse and brown Louis Vuitton purse.

Baldassaro then advised that on June 23, 2022 at approximately 1650 hours, a different pair of
two unknown black males entered her store and purchased a red Chanel purse for $4,586.40.

This item was also purchased with a MasterCard ending in 6002. Upon viewing the video, the
Deputy observed one black male was thin, wearing a blue hat, blue shirt with a design, blue jeans
and yellow shoes. The second was medium build black male, with braided hair, clad in a black
shirt with dark writing, dark colored sweat pants with bright writing and blue colored shoes. The
thin black male in the blue hat, is observed looking at his phone while writing on a small piece of
paper for the employee. This suspect conducted one transaction that was approved for a total of

$4,586.40.

Baldassaro stated on June 30, 2022, she was contacted by Hancock-Whitney Bank, and was
advised that the charges were disputed by the owner of the MasterCard and reimbursement
would not be issued. Pamela was able to confirm the two purchases on June 22 and June 23
were made using the same credit card information.

Baldassaro advised that she attempted to file for reimbursement through their merchant service,
First Data, and was advised they would not provide reimbursement since the customer entered
the card information manually.

Baldassaro was not working the two days the incidents occurred, but spoke with her employees
in regards to what happened. Baldassaro's employee advised on June 22, 2022, the suspect stated
he was going to pay via Apple Pay, but after "attempting," he stated, “I'll just put the numbers
in." The suspect attempted eight transactions, which were declined, and then two transactions
that were approved. One for $5,241.60 and one for $3,057.60, totaling $8,299.20.

Detective Jody Kaough was notified of the incident while assigned evening duty, and responded
to the scene where he obtained a USB copy of video surveillance, and copies of each receipt for
all declined transactions and confirmed transactions. Detective Kaough forwarded the
information and evidence to Detective Bartholomew.

Detective Bartholomew reviewed the surveillance video and was able to utilize still photographs
from the video to identify three of the four suspects.

Detective Bartholomew was advised by a credible source, the heavyset black male from June 22,
2022, was Ashton Johnson. Detective Bartholomew conducted a search of the name, which
revealed a DMV photograph of a Ashton Malik Johnson (B/M, DOB: 02/22/1999), which
appeared to match the description of the suspect from the surveillance video, and is a wanted

subject out of New Orleans.

Detective Bartholomew requests an arrest warrant for the body of Ashton Malik Johnson (B/M,
DOB: 02/22/1999) for the charges of ten counts of RS14:67.16 C(1) Identity Theft $1000 or
more, ten counts of RS14:71.1 Bank Fraud, and one count of RS14:67 B(2) Theft $5000-24999.

Case Number: F-21850-22 Warrant Number: Approved on: Jul, 18, 2022 at 04:29 PM
Case 1:23-mi-99999-UNA Document 2907-20 Filed 09/08/23 Page 3 of 3

[hereby certify under oath the information contained herein to be true and correct, to the
best of my knowledge, under penalties of perjury.

Ledeen, freftolinen

Detective Andrew R Bartholomew
Affiant

THUS DONE AND PASSED on the 18 day of Jul, 2022 at 04:29 PM.

Judge Paul Schneider
24TH JUDICIAL DISTRICT COURT

PARISH OF JEFFERSON
STATE OF LOUISIANA

Case Number: F-21850-22 Warrant Number: Approved on: Jul, 18, 2022 at 04:29 PM
